     Case 2:14-cr-00168-TOR            ECF No. 1354         filed 11/04/15      PageID.7089 Page 1 of 2
PROB 12C                                                                           Report Date: November 4, 2015
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jason J. Obermiller                      Case Number: 0980 2:14CR00168-TOR-26
 Address of Offender:                                 Spokane, Washington 99203
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: June 24, 2015
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. §§ 1344 and 1349
 Original Sentence:       Prison - 10 months;               Type of Supervision: Supervised Release
                          TSR - 60 months
 Asst. U.S. Attorney:     George J. C. Jacobs, III          Date Supervision Commenced: July 24, 2015
 Defense Attorney:        Federal Defender’s Office         Date Supervision Expires: July 23, 2020


                                         PETITIONING THE COURT

                To incorporate the violation(s) contained in this petition in future proceedings with the
violation(s) previously reported to the Court on October 26 and 28, 2015, and ISSUE A WARRANT for the
offender’s arrest.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           6            Mandatory Condition # 4: The defendant shall refrain from any unlawful use of a
                        controlled substance. The defendant shall submit to one drug test within 15 days of release
                        from imprisonment and at least two periodic drug tests thereafter, as directed by the
                        probation officer.

                        Supporting Evidence: On November 4, 2015, the undersigned officer received a phone call
                        from Mr. Obermiller in which he admitted to relapsing 2 days prior. Mr. Obermiller stated
                        he did not notify the undersigned officer of the relapse previously, as he was ashamed.
           7            Standard Condition # 2: The defendant shall report to the probation officer in a manner and
                        a frequency directed by the Court or probation officer.

                        Supporting Evidence: On November 3, 2015, the undersigned officer contacted a friend of
                        Mr. Obermiller’s, and requested that she pass along a message directing him to report to the
                        United States Probation Office on that date, and to contact the undersigned officer
                        telephonically. Mr. Obermiller did not report on the date indicated, and at no point did he
                        leave a message for the undersigned officer. On November 4, 2015, the undersigned officer
                        was able to verify with the contact person that she had passed along the message to Mr.
                        Obermiller the previous day. The undersigned officer again requested she have Mr.
    Case 2:14-cr-00168-TOR            ECF No. 1354        filed 11/04/15      PageID.7090 Page 2 of 2
Prob12C
Re: Obermiller, Jason J.
November 4, 2015
Page 2

                      Obermiller contact the undersigned officer. He returned the undersigned officer’s phone call
                      several minutes later, and when confronted on his failure to report or call as directed, he
                      stated he did not know why he did not report other than to state that he “did not know what
                      was going on,” and that he had relapsed 2 days ago and was really “stressed.”
          8           Standard Condition # 3: The defendant shall answer truthfully all inquiries by the
                      probation officer and follow the instructions of the probation officer.

                      Supporting Evidence: On October 28, 2015, the undersigned officer directed Mr.
                      Obermiller to contact New Vision Drug and Alcohol Center to complete a telephonic intake,
                      to assist in facilitating his placement in their detox program. On November 2, 2015, the
                      undersigned officer received notification from Alcohol Drug Education Prevention and
                      Treatment (ADEPT) staff, who was coordinating the placement for New Vision Drug and
                      Alcohol Center, that Mr. Obermiller did not complete the intake process as previously
                      directed.

The U.S. Probation Office respectfully recommends the Court issue a warrant and incorporate the violations
contained in this petition in future proceedings with the violations previously reported to the Court on October 26
and 28, 2015.
                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     November 4, 2015
                                                                            s/ Chris Heinen
                                                                            Chris Heinen
                                                                            U.S. Probation Officer



 THE COURT ORDERS
 [X ] The Issuance of a Warrant
 [ ] The Issuance of a Summons
 [ X ] The incorporation of the violation(s) contained in this
       petition with the other violations pending before the
       Court.
 [ ] Defendant to appear before the Judge assigned to the
       case.
 [ X ] Defendant to appear before the Magistrate Judge.
 [ ] Other

                                                                            Signature of Judicial Officer

                                                                            November 4, 2015
                                                                            Date
